22-11285-jlg   Doc 15   Filed 11/03/22 Entered 11/03/22 08:44:44         Main Document
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                                                              U.S. Department of Justice

                                                              Office of the United States Trustee
                                                              Southern District of New York

                                            201 Varick Street                             (212) 510-0500
                                            Room 1006                                Fax: (212) 668-2255
                                            New York, New York 10014



                           INVOLUNTARY CASE MEMORANDUM


TO:              Case Administration-Judge Team for Judge Garrity
                 New York, New York

FROM:            William K. Harrington
                 United States Trustee

PREPARED BY:     Mary Moroney

DATE:            November 3, 2022

RE:           Hale & Hearty Soups L.L.C.,
              Case No.22-11285(JLG)
              Appointment of Interim Trustee Prior to Order for
              Relief.
-----------------------------------------------------------------

        Do not schedule a section 341(a) meeting at this time.

     Please prepare your regular notice regarding the order for
relief and indicate that Gregory Messer is the Interim Trustee.




cc: Gregory Messer, Interim Trustee
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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------X
 In re                          :                      Case No. 18 B 11691(JLG)
                                :
 Hale & Hearty Soups L.L.C.,    :                        NOTICE TO TRUSTEE OF
                                :                       APPOINTMENT AND FIXING
                                :                           AMOUNT OF BOND
                                :
                Debtor.         :
                                :
 ------------------------------X

 TO:       Gregory Messer, Esq.
           26 Court Street, Suite 2400
           Brooklyn, New York 11242

      An order for relief having been signed in the above-captioned
 involuntary case (11 U.S.C. § 303(h)) which was commenced on
 September 27, 2022, you have been appointed, pursuant to 11 U.S.C. §
 701(a), as Interim Trustee of the estate of the above-named debtor.
 If no trustee is elected, you shall serve as the trustee in this case
 by operation of law. 11 U.S.C. § 702(d).

      The amount of your bond is covered by the bond of Interim
 Trustees in Chapter 7 cases issued by Liberty Mutual Insurance
 Company which is on file with this Office and the Bankruptcy Court.
 See 11 U.S.C. § 322(a); FRBP 2008; FRBP 2010(a)). You are required
 to notify the undersigned in writing within five (5) business days
 after receipt of this notice in the event you reject this
 appointment.

 Dated:           New York, New York
                  November 3, 2022




                                                 William K. Harrington
                                                 William K. Harrington
                                                 United States Trustee
                                                 201 Varick Street, Room 1006
                                                 New York, New York 10014
                                                 (212) 510-0500



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